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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                   Case No. 21-CR-53-GKF

RYAN BLAKE STILL,

               Defendant.


                                    OPINION AND ORDER

       Before the court is the defendant’s Motion to Dismiss the Indictment. [Doc. 19]. For the

reasons set forth below, the motion is denied.

I. Background

       On July 25, 2013, defendant Ryan Still pleaded guilty to rape in the second degree, in

violation of 21 Okla. Stat. § 1116. [Doc. 19-1, p. 9 (State of Oklahoma v. Ryan Blake Still, No. CF-

2012-359 (Dist. Ct. Creek (Bristow) Cnty. July 25, 2013))]. 1 The District Court in and for Creek

(Bristow) County, Oklahoma accepted Mr. Still’s guilty plea and entered judgment. [Id., at pp. 9-

11].

       On February 22, 2021, a federal grand jury returned an indictment charging the defendant

with one count of Failure to Register as a Sex Offender, in violation of 18 U.S.C. § 2250(a). [Doc.

2]. The indictment alleges as follows:

               Between on or about October 3, 2020, and the date of this
               Indictment, in the Northern District of Oklahoma, the defendant,
               RYAN BLAKE STILL, an individual required to register under the
               Sex Offender Registration and Notification Act, and who entered,
               left, and resided within Indian Country, did knowingly fail to
               register and update his registration.

1
 A court may take judicial notice of docket information and records from another court. See United
States v. Leal, 921 F.3d 951, 963 n. 10 (10th Cir. 2019).
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               All in violation of Title 18, United States Code, Section 2250(a).

       Two months later, on April 27, 2021, the District Court in and for Creek (Bristow) County

vacated Mr. Still’s 2013 state court rape conviction in light of McGirt v. Oklahoma, 140 S. Ct.

2452 (2020). [Doc. 19-2 (State of Oklahoma v. Ryan Blake Still, No. CF-2012-359 (Dist. Ct. Creek

(Bristow) Cnty. April 27, 2021))]. The state court found that Mr. Still “has some quantum of Indian

blood” and is a member of the Cherokee Nation, a Federally-recognized Indian tribe. [Id., p. 2].

The state court further found that the acts occurred in Indian Country. [Id.]. Based on these

findings, the state court concluded it lacked jurisdiction and vacated Mr. Still’s conviction. [Id., p.

3].

       The defendant now moves this court to dismiss the federal indictment because the state

court lacked subject matter jurisdiction to prosecute Mr. Still for rape, as evidenced by the vacation

of his conviction. The plaintiff urges the court to deny the motion because Still was a convicted

sex offender with a duty to register under SORNA during the charged time frame.

II. Analysis

       Congress passed the Sex Offender Registration and Notification Act (SORNA), 34 U.S.C.

§§ 20901 et seq., to “make more uniform what had remained a patchwork of federal and 50

individual state registration systems, with loopholes and deficiencies that had resulted in an

estimated 100,000 sex offenders becoming missing or lost.” Nichols v. United States, 136 S. Ct.

1113, 1119 (2016). SORNA requires a “sex offender” to “register, and keep the registration current,

in each jurisdiction where the offender resides, where the offender is an employee, and where the

offender is a student.” 34 U.S.C. § 20913(a). SORNA defines “sex offender” as “an individual who

was convicted of a sex offense.” 34 U.S.C. § 20911(1).

       The defendant’s motion presents an important question in light of McGirt: what happens

when a sex offense conviction is later vacated? Defendant argues that, because the conviction is


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treated as a nullity, it can never trigger SORNA’s registration requirements. In the plaintiff’s view,

however, an individual convicted of a sex offense must comply with SORNA until the conviction

is vacated.

       Only one circuit court has addressed this issue. 2 In United States v. Roberson, 752 F.3d 517

(1st Cir. 2014), defendant James Roberson was charged with failure to register as a sex offender

under SORNA. At the time of the federal indictment, Roberson stood convicted of the

Massachusetts crime of indecent assault and battery on a child under the age of 14. Id. at 519. Four

months after the federal indictment, Roberson successfully moved to withdraw his guilty plea to

the state sex crime because it had been entered following a constitutionally defective procedure.

Roberson then moved to dismiss his federal charge, arguing he no longer had a predicate sex

offense to support a SORNA violation. The First Circuit upheld the district court’s denial of

Roberson’s motion, holding that “SORNA’s registration requirement applied to Roberson as a

person who ‘was convicted’ of a sex offense, regardless of whether that conviction is later vacated,

when federal charges have been brought for conduct before the vacation of conviction.” Id.

(internal citation omitted).

       In its analysis, the First Circuit looked to Lewis v. United States, 445 U.S. 55 (1980). In

Lewis, the Supreme Court interpreted statutory language forbidding a person who “has been

convicted by a court of the United States or of a State . . . of a felony” from knowingly receiving

and possessing a firearm. Id. at 60. The defendant argued his firearm charge could not be predicated

on a constitutionally-deficient state conviction. Id. at 57. The Supreme Court disagreed, holding



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  The Second Circuit and the Ninth Circuit have determined that SORNA does not permit
defendants to collaterally attack their predicate convictions. United States v. Diaz, 967 F.3d 107,
109 (2d Cir. 2020); United States v. Delgado, 592 F. App’x 602, 603 (9th Cir. 2015) (unpublished).
But the issue here is distinct—the defendant has already obtained relief in state court; he does not
seek to collaterally attack his state conviction.


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the firearm statute “prohibits a felon from possessing a firearm despite the fact that the predicate

felony may be subject to collateral attack on constitutional grounds.” Id. at 65. The Supreme Court

noted that the statute contained “[n]o modifier” and “nothing suggests any restriction on the scope

of the term ‘convicted.’” Id. at 60. Further, the Court observed: “The statutory language is

sweeping, and its plain meaning is that the fact of a felony conviction imposes a firearm disability

until the conviction is vacated or the felon is relieved of his disability by some affirmative action.

. . .” Id. at 60-61.

        The First Circuit noted that the statute at issue in Lewis has “almost identical language” to

SORNA and is a part of a “similar regulatory system.” Roberson, 752 F.3d at 521-22. In addition,

“SORNA has exceptions to its coverage,” like the firearms statute in Lewis. Id. at 523. “But none

of the exceptions is for a later vacated conviction.” Id. “This analysis also involves the two

considerations utilized by the Lewis court: when Congress has provided limited exceptions within

the same statute, courts will not read in additional exceptions. And that conclusion is only

strengthened by the existence of other statutes that show Congress knew how to create such an

exception when it wished to do so.” Id. (internal citations omitted). For example, the Supreme

Court in Lewis contrasted the federal firearm statute at issue “with other federal statutes that

explicitly permit a defendant to challenge, by way of defense, the validity or constitutionality of

the predicate felony.” Lewis, 445 U.S. at 62. “Using the same mode of analysis as Lewis,” the

First Circuit concluded that SORNA’s “language is plain.” Id. at 522. “The term ‘was convicted’

refers to the fact of conviction and does not refer just to a ‘valid’ conviction.” Id.

        Much like the First Circuit, in looking to federal firearms statutes referring to those

“convicted” of a crime, the Tenth Circuit has adopted the rule that “once one is convicted of a




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felony he is within the proscription against possession of firearms until that prior conviction is

actually overturned or expunged.” Barker v. United States, 579 F.2d 1219, 1226 (10th Cir. 1978).

       The same is true with SORNA—the plain language of the statute imposes a registration

requirement unambiguously on “an individual who was convicted of a sex offense.” 34 U.S.C. §

20911(1) (emphasis added); 34 U.S.C. § 20913(a). No modifier is present and nothing suggests

a restriction on the scope of the term “was convicted.” The statutory language is sweeping, and

its plain meaning is that the fact of a sex offense conviction subjects an individual to SORNA’s

registration requirements until the conviction is vacated.

       The defendant disagrees, arguing that “[b]y voiding the conviction, the district court’s order

voided all state court proceedings relating back to the entry of the judgment of conviction.” [Doc.

19, pp. 3-4]. As a result, at the time of the charged conduct, there was no sex offense conviction.

In support, the defendant points to United States v. Magnan, 622 F. App’x 719 (10th Cir. 2015)

(unpublished). In that case, the Tenth Circuit applied the general rule that “[u]nlike an order

vacating a judgment, a decision holding that a court lacked jurisdiction voids each and every action

taken in the case.” Id. at 723. The Tenth Circuit concluded that “if a trial court is held to have

lacked jurisdiction, a plea entered before it is invalidated. Under these circumstances, the plea

must be treated as ‘withdrawn.’” Id. at 724. However, that general rule does not apply in all

contexts. As the Tenth Circuit has explained with respect to firearms statutes, “[w]hile for most

purposes the law ignores a void conviction, the federal firearms statutes represent a considered and

deliberate exception to this inasmuch as they require that the conviction be declared void before a

firearm is purchased.” United States v. Mayfield, 810 F.2d 943, 946 (10th Cir. 1987).

       In United States v. Mayfield, defendant William Mayfield was charged with various federal

firearms violations. An essential element of each violation “was the fact that prior to purchasing




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firearms the defendant had been convicted of felony theft by deception in Cowley County,

Kansas.” 810 F.2d at 944. The defendant argued to the district court “that the Kansas conviction

was void from its inception.” Id. The district court agreed, finding that the state court lacked

jurisdiction to convict Mayfield because Mayfield was only seventeen (17) when he committed

the offense and the Kansas court failed to follow the proper juvenile procedures. Id. The district

court further concluded “that since the state court lacked jurisdiction, the conviction was void ab

initio and could not constitute the predicate offense for the subsequent federal firearms violation.”

Id. In so holding, the district court distinguished Lewis because “a conviction that is invalid due

to a constitutional infirmity is ‘clearly distinguishable’ from a conviction that is void due to lack

of jurisdiction.” Id. at 945 (emphasis original). The Tenth Circuit rejected that distinction.

       As the Tenth Circuit explained, “[n]othing in the Lewis decision suggests that the Court

intended to recognize a distinction between ‘invalid’ and ‘void’ convictions.” Id. The Tenth

Circuit went on:

               The greatest problem with the district court's reasoning, however, is
               its conclusion that, because the state court lacked jurisdiction,
               Mayfield's conviction is and always has been void. This conclusion
               ignores the fact that the issue of whether a court has proper
               jurisdiction is a legal one and, hence, no conviction is “void from its
               inception” for lack of jurisdiction until a court with review authority
               has so declared. While Mayfield's prior conviction became void
               when the federal district court [determined the state court lacked
               jurisdiction], it was not void when Mayfield allegedly purchased the
               weapons. Mayfield was, at that time, a convicted felon. As such, he
               allegedly violated the law by purchasing a firearm, and the
               government should have been allowed to proceed with its case
               against him.

               ***

               It bears repeating that no conviction is void (or “null”) until the
               judicial process has declared it so. There is no question that
               Mayfield was “convicted in the first place” and while it is true that
               his conviction was finally “rendered a nullity”, it was not rendered
               so until after he allegedly obtained firearms.


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Id. at 946. Because of the similarity between the statutory language of the firearms statutes and

SORNA, and the similarity of the regulatory schemes, this rationale forecloses Mr. Still’s argument

that a later-voided conviction cannot serve as a predicate crime for SORNA. A defendant

convicted of a sex offense must abide by SORNA’s requirements until his conviction is vacated.

Roberson, 752 F.3d at 519.

       In reply, the defendant raises additional arguments. First, he argues that this court “should

not allow the federal government to use a conviction obtained in derogation of Congressional

intent and Due Process.” [Doc. 24, p. 2]. He explains “Congress never gave Oklahoma the

authority to prosecute or convict Mr. Still.” [Id., p. 3]. True as that is, McGirt does not mandate

the result defendant seeks. For the reasons set forth above, Congress subjects those convicted of

sex offenses to SORNA’s requirements to protect the public from potentially dangerous sex

offenders. See United States v. Carel, 668 F.3d 1211, 1222 (10th Cir. 2011) (“SORNA’s declared

purpose is to ‘protect the public from sex offenders and offenders against children . . . [by]

establish[ing] a comprehensive national system for the registration of those offenders.” (alterations

original)). With this purpose in mind, “there is no reason to think that Congress would willingly

engender uncertainty concerning to whom SORNA’s registration requirement applies by

permitting those who fail to register to challenge their predicate convictions after the fact.”

Roberson, 752 F.3d at 525. The defendant offers no persuasive reason why the result should be

different for convictions invalidated by McGirt.

       Second, the defendant argues Lewis is distinguishable because he does not seek to

collaterally attack his rape conviction as it has been vacated. [Doc. 24, p. 3]. But the relevant

holding in Lewis is broad. The Supreme Court read the plain language of the firearms statute to

impose a firearm disability on those convicted of felonies until their conviction is vacated. Lewis,




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455 U.S. at 60-61. SORNA uses similar language, and the court is persuaded by the Supreme

Court’s reasoning in Lewis that Mr. Still was not relieved of his duty to register under SORNA

until his conviction was vacated.

       Third, the defendant points to cases suggesting a defendant can collaterally attack predicate

convictions for jurisdictional defects. For example, defendant cites United States v. Bigford, 365

F.3d 859 (10th Cir. 2004). There, the Tenth Circuit looked to the Deadbeat Parents Punishment

Act’s statutory language, the legislative history of the Act, and the overall legislative scheme and

determined that “the DPPA allows a defendant to challenge a default child support order on the

basis that the state court that rendered the judgment lacked personal jurisdiction over the

defendant.” Id. at 872. In so holding, the Tenth Circuit distinguished Mayfield, 810 F.2d 943. The

Tenth Circuit explained:

               In United States v. Mayfield, we held that a defendant charged with
               violating the federal felon-in-possession statute could not launch a
               collateral attack to the state conviction in his federal prosecution.
               The defendant in Mayfield alleged that he should have been tried as
               a juvenile under state statutory law and that the state court that
               convicted him therefore lacked jurisdiction over him. Mayfield is
               distinguishable from the instant case. Mayfield, relying on Lewis v.
               United States, 445 U.S. 55, 100 S.Ct. 915, 63 L.Ed.2d 198 (1980),
               held that the federal felon-in-possession statute effectively
               abrogated the general rule that judgments rendered without
               jurisdiction are void.

Bigford, 365 F.3d at 872 n. 8. Comparing SORNA’s text and purpose to the statutes at issue in

Mayfield and Bigford, the court concludes the rationale in Mayfield applies. Using nearly identical

statutory language to the federal firearms statutes, SORNA also “effectively abrogate[s] the

general rule that judgments rendered without jurisdiction are void.” As the Tenth Circuit observed

in Mayfield, “the principle that a void judgment is not legally binding simply means that it may

not be enforced.” Mayfield, 810 F.2d at 946. As in Mayfield, the court is not concerned with

enforcing the defendant’s predicate rape conviction. Rather, the issue is the role of that conviction


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in evaluating whether Mr. Still was subject to SORNA’s registration requirements during the

charged timeframe. To paraphrase Mayfield, “[w]hile for most purposes the law ignores a void

conviction, [SORNA] represents a considered and deliberate exception to this inasmuch as [it]

require[s] that the conviction be declared void before [an individual convicted of a sex offense is

no longer required to register].” See id.

       The indictment charges that Mr. Still failed to comply with SORNA between October 3,

2020 and February 22, 2021, before the state court vacated his sex offense conviction for lack of

jurisdiction. Because Mr. Still was still a “sex offender” for purposes of SORNA during the charged

timeframe, the defendant’s motion to dismiss is denied.

III. CONCLUSION

       WHEREFORE, the defendant’s Motion to Dismiss the Indictment [Doc. 19] is denied.

       IT IS SO ORDERED this 12th day of May, 2021.




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